GARE 262% PORTER ARERR RAE AH 12109-2024

Only attorneys admitted to the Bar of this Court may practice before the Court. Each attorney representing
a party must complete a separate form. (COMPLETE ENTIRE FORM unless otherwise noted).

Fifth Cir. Case NO. 24-30706

Roake _ Brumley

vs
(Short Title)

The Clerk will entar my appearance as Counsel for The Conscience Project and Professor Mark David Hall

(Please list names of all parties represented, attach additional pages if necessary.)
The party(s) I represent IN THIS COURT [__]Petitionerts) Respondent(s) Amicus Curiae

C] Appellant(s) [__JAppelleets) [] Intervenor

I certify that the contact information below is current and identical to that listed in my Appellate Filer
Account with PACER.

Tbaihve: becto-betp~ amariepicciotti@gmail.com
’ 4

Signature) (e-mail address)
Andrea Picciotti-Bayer California/197592

(Type or print name) (State/Bar No.)
Director

(Title, if any)

(Firm or Organization)

Address 1350 Beverly Road, PMB 196 Suite 115
City & State Mclean, VA Zip 22101
Primary Tel. 571 -201 -6564 Cell Phone: 571 -201 -6564 (Optional)

NOTE: When more than one attorney represents a single party or group of parties, counsel should designate a lead counsel. In
the event the court determines oral argument is necessary, lead counsel only will receive via e-mail a copy of the court's docket
and acknowledgment form. Other counsel must monitor the court's website for the posting of oral argument calendars,

Name of Lead Counsel:
A. Name of any Circuit Judge of the Fifth Circuit who participated in this case in the district or bankruptcy court.

B. Inquiry of Counsel. To your knowledge:

(1) Is there any case now “he in this court, which involves the «ame, substantially the same, similar or related isssue(s)?

Yos No

(2) Is there any such case now pending in a District Court () within this Circuit, or (ii) in a Federal Administrative Ageney which
would likely be appealed to the Fifth Circuit?

ou, ee :
(3) Is there any case such as (1) or (2) in which judgment or order has been entered and the case is on its way to this Court by appeal,

petition to enforce, review, deny?
Yes 0

(4) Does this case qualify for calondaring priority undor 5th Cir, R. 47.7? Ifso, cite the type of case

If answer to (1), or (2), or (3), is yes, please give detailed information. Number and Style of Related Case:

Name of Court or Agency.

Status of Appeal (if any)

Other Status Gf nat appealed)

NOTE: Attach sheet to give further details. DKT-5A REVISED June 2023
